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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
__________________________________________

EDWARD STEWART,                           :
             Plaintiff,                   :
                                          :
                  v.                       :                 Civil No. 2:20-cv-00776-JMG
                                          :
DAVID FELDMAN, et al.,                    :
                  Defendants.             :
__________________________________________


                               AMENDED SCHEDULING ORDER

       AND NOW, this 29th day of September, 2020, good cause having been shown, and

pursuant to the Court’s discretion to amend pretrial scheduling orders under Federal Rule of Civil

Procedure 16(b)(4), IT IS HEREBY ORDERED as follows:

       1.       All fact and expert discovery shall be completed no later than December 28, 2020.

       1.       The parties shall contact Judge Gallagher’s Civil Deputy to schedule a telephonic

       status conference to be held on or about October 20, 2020. The parties should be prepared

       to discuss the status of discovery and settlement discussions, if any.

       2.       Affirmative expert reports, if any, are due by November 27, 2020.

       3.       Rebuttal expert reports, if any, are due by December 11, 2020.

       4.       Expert depositions, if any, shall be concluded no later than December 28, 2020.

       No further extensions of discovery deadlines will be granted absent extraordinary

       circumstances.

       5.       Any party expecting to offer opinion testimony from lay witnesses pursuant to

       Federal Rule of Evidence 701 with respect to the issues of liability and damages shall, at

       the time required for submission of information and/or reports for expert witnesses on

       liability and damages set forth in the preceding paragraph, serve opposing parties with
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concise details and/or documents covering the lay opinions of the Rule 701 witnesses,

including the identity of each witness offering the expert opinion, the substance and the

basis for each opinion

6.       Motions for summary judgment, if any, shall be filed by December 28, 2020.

Responses shall be filed no later than January 11, 2021. Motions for summary judgment

and responses shall be filed in the form prescribed in Judge Gallagher’s Policies and

Procedures, specifically:

          (a) The movant shall file, in support of the motion for summary judgment, a

             Statement of Undisputed Facts which set forth, in numbered paragraphs, all

             material facts which the movant contends are undisputed.

          (b) The respondent shall file, in opposition to the motion for summary judgment,

             a separate Statement of Disputed Facts, responding to the numbered

             paragraphs set forth in the movant’s Statement of Undisputed Facts, which

             the respondent contends present a genuine issue to be tried. The respondent

             shall also set forth, in separate paragraphs, any additional facts which the

             respondent contends preclude summary judgment.

          (c) All material facts set forth in the Statement of Undisputed Facts required to

             be served by the movant shall be admitted unless specifically controverted by

             the opposing party.

          (d) Statements of material facts in support of or in opposition to a motion for

             summary judgment shall include specific and not general references to the

             parts of the record which support each of the statements. Each stated fact and

             each statement that a material fact is disputed shall cite to the source relied


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              upon, including the title, page and line of the document supporting the

              statement.

           (e) If a party’s motion for summary judgment, or an opposition thereto, is based

              in whole or in part on an argument that expert testimony is not admissible, the

              party must raise such argument in a contemporaneous Daubert motion.

           (f) For purposes of summary judgment, counsel shall submit a joint appendix,

              including any and all exhibits that may be referenced in their respective

              motions, no later than the date the initial motion for summary judgment is

              docketed. All pages/exhibits of said appendix shall be “bates stamped” and

              referenced in the motions consistent with the bates number assigned each

              page. Judge Gallagher will not consider any document/exhibit not included

              in said appendix.

7.       No later than January 25, 2021, counsel for each party shall serve upon counsel

for every other party a copy of each exhibit the party expects to offer at trial.

8.       No later than February 8, 2021, each party shall file with the Clerk of Court a

pretrial memorandum. The pretrial memorandum should be prepared in accordance with

the provisions of the Local Rule of Civil Procedure 16.1(c) and should also include the

following items:

           (a) All stipulations of counsel.

           (b) A statement of objection to: (1) the admissibility of any exhibit based on

              authenticity; (2) the admissibility of any evidence expected to be offered for

              any reason (except relevancy); (3) the adequacy of the qualifications of an

              expert witness expected to testify; and (4) the admissibility of any opinion


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              testimony from lay witnesses pursuant to Federal Rule of Evidence 701. Such

              objection shall describe with particularity the ground and the authority for the

              objection.

           (c) Deposition testimony (including videotaped deposition testimony) that the

              party intends to offer during its case-in-chief. The statement should include

              citations to the page and line number and the opposing party’s counter-

              designations.

           (d) A statement of any anticipated important legal issues on which the Court will

              be required to rule, together with counsel’s single best authority on each such

              issue.

9.       All motions in limine shall be filed no later than February 15, 2021. Responses,

if any, shall be filed no later than February 22, 2021.

10.      No later than February 15, 2021, any objections to designations of deposition

testimony shall set forth the page and line numbers of the challenged testimony and a clear

statement for the basis of that objection. The objecting party must provide the Court with

a copy of the deposition transcript with the challenged testimony highlighted. Any

objection not made in conformity with this Order will be deemed waived.

11.      No later than February 15, 2021, the parties shall file with the Clerk of Court joint

proposed jury instructions on substantive issues and proposed verdict forms or special

interrogatories to the jury. Each party shall also file proposed jury instructions, verdict

forms or special interrogatories on those issues not agreed upon by the parties in their joint

submission.




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12.    A final pretrial conference will be held on Wednesday, May 5, 2021 at 1:30 p.m.,

in Chambers. Counsel shall be prepared to address any pending motions in limine, and

objections to witnesses and exhibits. Trial counsel must attend the final pretrial conference

and only those attorneys attending the conference may participate in the trial.

13.    This case will be listed for trial on Friday, May 7, 2021 at 9:00 a.m.



                                              BY THE COURT:



                                              /s/ John M. Gallagher
                                              JOHN M. GALLAGHER
                                              United States District Court Judge




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